        Case 3:16-cv-00009-JAJ-HCA Document 39 Filed 05/10/17 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF IOWA
                                  DAVENPORT DIVISION


J&S R.D.T. ARCHERY, INC. and
JAMES J. KEMPF an Individual,                                   No.3:16-cv-00009-JAJ-HCA

     Plaintiffs,

v.                                                          STIPULATION OF DISMISSAL

BEAR ARCHERY, INC.,

     Defendant.


         Plaintiffs, J&S R.D.T. Archery, Inc. and James J. Kempf, and Defendant, Bear Archery,

Inc., hereby jointly stipulate, agree, and consent as follows:

         1.        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby dismiss this Action

with prejudice, including, without limitation, all claims asserted in this action by Plaintiffs

against Defendant and all counterclaims asserted by Defendant against Plaintiffs.

         2.        Each party shall bear its own costs, expenses, and attorneys’ fees incurred in

connection with this Action.

Dated: May 10, 2017                              Respectfully submitted,

                                                 WHITFIELD & EDDY, P.L.C.
                                                 699 Walnut Street, Suite 2000
                                                 Des Moines, Iowa 50309
                                                 Telephone: (515) 288-6041
                                                 Fax: (515) 246-1474
                                                 Email: Helton@whitfieldlaw.com
                                                 Email: Everett@whitfieldlaw.com

                                                 By: /s/Van T. Everett/
                                                     Van T. Everett, AT0011512

                                                 ATTORNEYS FOR PLAINTIFFS


                                                    1
Case 3:16-cv-00009-JAJ-HCA Document 39 Filed 05/10/17 Page 2 of 3




                             /s/Blake R. Hartz/
                             Charles J. Meyer
                             cmeyer@uspatent.com
                             Blake R. Hartz
                             bhartz@uspatent.com
                             WOODARD, EMHARDT, MORIARTY,
                               MCNETT & HENRY LLP
                             111 Monument Circle, Suite 3700
                             Indianapolis, Indiana 46204
                             Phone: (317) 634-3456
                             Fax: (317) 637-7561

                             James S. Zmuda
                             jzmuda@califf.com
                             CALIFF & HARPER, P.C.
                             506 15th Street, Suite 600
                             P.O. Box 719
                             Moline, Illinois 61266-0719
                             Phone: (309) 764-8300
                             Fax: (309) 764-8394

                             Attorneys for Defendant Bear Archery, Inc.




                                2
       Case 3:16-cv-00009-JAJ-HCA Document 39 Filed 05/10/17 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2017, I electronically filed the foregoing document with

the Clerk of Court using the CM/ECF system which will send notification of such filing via

electronic mail to all counsel of record.

                                            /s/Blake R. Hartz/
                                            Blake R. Hartz




                                               3
